      Case: 4:19-cr-01041-SRC Doc. #: 2 Filed: 12/19/19 Page: 1 of 2 PageID #: 5




                              UNITED STATES DISTRICT COURT                       SUPPRESS~l~fidl
                              EASTERN DISTRICT OF MISSOURI
                                                                                           DEC 1 9 2019
                                    EASTERN DIVISION
                                                                                          U.S. DISTRICT COURT
                                                                                        EASTERN UISTRICT OF MO
 UNITED STATES OF AMERICA,                          )                                           ST. LOUIS
                                                    )
 Plaintiff,                                         )
                                                    )
 v.                                                 ) No.
                                                    )          4:19CR01041 SRC/NAB
 BRYAN KIMBLE,                                      )
                                                    )
 Defendant.                                         )

                                         INDICTMENT

                                          COUNT ONE
        The Grand Jury charges that:

        On or about October 11, 2019, in the City of St. Louis, within the Eastern District of

Missouri,

                                       BRYAN KIMBLE,

the Defendant herein,· did knowingly and intentionally distribute a mixture or substance

containing a detectible amount of cocaine base (crack), a Schedule II controlled substance._

        In violation of Title 21, United States Code, Section 841(a)(l).

                                          COUNT TWO


      The Grand Jury further charges that:

        On or about Oc_tober 16, 2019, in the City of St. Louis, within the Eastern District of

Missouri,

                                       BRYAN KIMBLE,

the Defendant herein, did knowingly and intentionally distribute a mixture or substance

containing a detectible amount of cocaine base (crack), a Schedule II controlled substance.
         Case: 4:19-cr-01041-SRC Doc. #: 2 Filed: 12/19/19 Page: 2 of 2 PageID #: 6




            In violation of Title 21, United States Code, Section 841(a)(l).



                                            COUNT THREE


          The Grand Jury further charges that:

            On or about October 22, 2019, in the City of St. Louis, within the Eastern District of

     Missouri,

                                           BRYAN KIMBLE,

     the Defendant herein, did knowingly and intentionally distribute a mixture or substance

     containing a detectible amount of cocaine base (crack), a Schedule II controlled substance.

            In violation of Title 21, United States Code, Section 84l(a)(l).
 I

·'

                                                  A TRUE BILL.


                                                  FOREPERSON

     JEFFREY B. JENSEN
     United States Attorney



     RODNEY H. HOLMES, #6244551(IL)
     Assistant United States Attorney
